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SHARON KIMBRELL ASHLEY, f?/`
Individually and as the Next of Kin to

JlMl\/IY KIMBRELL, Deceased,
Plaintiff,

VS. No. 05-1006-T/An
THE STATE OF TENNESSEE d/b/a
NORTHWEST CORRECTIONAL
CENTER and d/b/a NORTHWEST
CORRECTIONAL CENTER MEDICAL
CLINIC, and JOHN DOE, in his official
capacity as an Employee/Agent/Servant of
l\lorthwest Correctional Center,

\-J\_/\_/\_/\._/\¢_/\_/\_/\_/\_/\_/\_/\./\_/\-/\_/\_/

Defendants.

 

ORDER DISMISSING JOHN DOE DEFENDANTS

 

Plaintiff Sharon Kimbrell Ashley, individually and as the Next of Kin of the decedent, Jimmy
Kimbrell, filed this action on January ]0, 2005 against the State of Tennessee d/b/a Northwest
Correctional Center and d/b/a Northwest Correctional Center l\/ledical Clinic. The complaint also
named “John Doe l-S” as defendants who “are Employees/Agents/Servants” of Northwest
Correctional Center. (Compl. 1l4.) l Plaintiff asserted constitutional claims pursuant to 42 U.S.C.
§ 1983 and negligence claims under Tennessee law. The State of Tennessee filed a motion to

dismiss on June l, 2005.

 

1 While paragraph four of the complaint names five John Doe defendants, the caption of the complaint lists
only one.

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ln the State’s motion to dismiss, it argued that plaintiffs § 1983 claims were barred by the
Eleventh Amendment and that the Tennessee Claims Commission has exclusive jurisdiction over
the state law negligence claims. The plaintiff subsequently filed a response conceding that exclusive
jurisdiction over this case lies in the Tennessee Claims Commission. Accordingly, on July 8, 2005,
the Court issued an order granting the motion to dismiss.

The status of the John Doe defendants was not directly addressed in the State’s motion to
dismiss The only reference to individual state employees Was in a footnote: “State employees
acting within the scope of their employment are entitled to absolute immunity. Tenn. Code Ann. § 9-
8-307(h).” (Mem. in Supp. of l\/lot. to Dism., at 6 n.2.) However, as the plaintiff has conceded that
exclusive jurisdiction over this action lies in the Tennessee Claims Commission, and as the
individual defendants have been neither identified nor served with process, the claims against the
John Doe defendants must also be dismissed

Accordingly, all claims against defendants John Doe l-5 are hereby DISMISSED. The Clerk
of Court is directed to prepare a judgment in accordance with this order and the order of July 8,
2005.

lT lS SO ORDERED.

@MA-M

JAM D. TODD
UN ED STATES DlSTRlCT JUDGE

/HOM/yam’

DATE /

 

DISTRICT oURT - WESTNER D"ISRICT oF TNNESSEE

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This notice confirms a copy of the document docketed as number 10 in
case 1:05-CV-01006 Was distributed by faX, mail, or direct printing on
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Honorable .l ames Todd
US DISTRICT COURT

